      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 1 of 17 Page ID #:1



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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                            September 2019 Grand Jury

12   UNITED STATES OF AMERICA,               No.    8:21-cr-00060-JLS
13             Plaintiff,                    I N D I C T M E N T

14             v.                            [18 U.S.C. § 371: Conspiracy; 33
                                             U.S.C. § 1319(c)(2)(A): Knowing
15   KLEAN WATERS, INC., and                 Discharge Without a Permit in
     TIM MILLER,                             Violation of a Requirement of
16
               Defendants.                   Approved Pretreatment Program; 18
17                                           U.S.C. § 981(a)(1)(C) and 28
                                             U.S.C. § 2461(c): Criminal
18                                           Forfeiture]

19
          The Grand Jury charges:
20
                               INTRODUCTORY ALLEGATIONS
21
          At times relevant to this Indictment:
22
     A.   THE DEFENDANTS
23
          1.   Defendant KLEAN WATERS, INC. was a corporation that owned
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     and operated a centralized waste treatment facility located in
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     Orange, California (“the facility”), which purportedly treated non-
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     hazardous wastewater from industrial and commercial business
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     customers, before discharging it into the sewer system.
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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 2 of 17 Page ID #:2



 1        2.    Defendant TIM MILLER was the owner and President of

 2   defendant KLEAN WATERS, with the authority and responsibility for

 3   defendant KLEAN WATERS’ proper treatment and disposal of non-

 4   hazardous industrial wastewater.

 5        3.    Co-conspirator #1 was the general manager of defendant

 6   KLEAN WATERS, responsible for overseeing the day-to-day operations of

 7   the plant and implementing the directions of defendant TIM MILLER.

 8        4.    Co-conspirator #2 was a salesperson at defendant KLEAN

 9   WATERS who sold the facility’s services to waste-generating

10   businesses and wastewater hauling companies.

11   B.   THE CLEAN WATER ACT

12        5.    The Federal Water Pollution Control Act, commonly known as
13   the Clean Water Act (“CWA”), prohibited the discharge of pollutants,
14   including chemical and industrial waste, into the waters of the
15   United States from any point source without a permit issued under the
16   National Pollutant Discharge Elimination System (“NPDES”).            Pursuant
17   to law, the U.S. Environmental Protection Agency (“EPA”) authorized
18   the State of California to implement and enforce NPDES permits.
19        6.    The owner or operator of any source of pollutants was
20   prohibited from introducing such pollutants into a municipal sewer
21   system in violation of a standard or prohibition promulgated under
22   the CWA.
23        7.    The EPA created “national pretreatment standards” for
24   industrial sources of wastewater that discharged to Publicly Owned
25   Treatment Works (“POTWs”), which were public facilities such as
26   sewage treatment plants that treated municipal sewage or industrial
27   waste of a liquid nature.     POTWs included sewers, pipes, or other
28   conveyances that convey wastewater to a POTW.
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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 3 of 17 Page ID #:3



 1        8.      POTWs were generally not designed to treat industrial

 2   pollutants, including metals like lead, mercury, chromium, and

 3   cadmium, which could cause lead poisoning, cancer, and other health

 4   problems.    Discharges from industrial or commercial sources could

 5   interfere with the operations of a POTW, or pass through a POTW

 6   without adequate treatment, causing detrimental effects on the water

 7   quality of the receiving water body and posing serious threats to

 8   public health and safety.     Accordingly, industrial wastewater

 9   dischargers were required to pretreat their wastewater before

10   discharging it to a POTW in order to comply with the National

11   Pretreatment Standards.

12        9.      Pretreatment included the reduction of the amount of

13   pollutants, the elimination of pollutants, or the alteration of the

14   nature of pollutant properties in wastewater before discharging such

15   pollutants into a POTW.     Dilution as a substitution for pretreatment

16   was prohibited.

17        10.     The Orange County Sanitation District (“OCSD”) operated

18   sewage treatment plants in Fountain Valley and Huntington Beach,

19   California, which were POTWs.      At its POTWs, OCSD was responsible for

20   collecting, treating, disposing of, and recycling wastewater from

21   residential, commercial, and industrial sources within a 471-square

22   mile service area in northern and central Orange County.           OCSD’s

23   treated wastewater was either discharged to the ocean or treated

24   further for use in a groundwater replenishment program.

25        11.     The EPA approved OCSD’s local pretreatment program in or

26   about January 1984.    With that approval, OCSD had authority to issue

27   permits to industrial users for the discharge of treated wastewater

28   to a POTW.    Pursuant to the CWA, any violation of any requirement

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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 4 of 17 Page ID #:4



 1   imposed in OCSD’s local pretreatment program was a violation of

 2   federal law.

 3        12.   OCSD enforced the conditions and requirements of the

 4   permits it issued.    OCSD monitored the compliance of permit holders

 5   by inspecting their facilities and records, reviewing self-monitoring

 6   reports, and taking samples of wastewater from inside the facilities,

 7   and from the sewer system downstream from the facilities.

 8        13.   Defendant KLEAN WATERS had a discharge permit issued by

 9   OCSD (the “Permit”) that allowed defendant KLEAN WATERS to discharge

10   pretreated industrial wastewater into a sewer system that flowed to a

11   sewage treatment plant operated by OCSD.

12        14.   The Permit specified limits on the concentration of

13   contaminants that could remain in the water after pretreatment by

14   defendant KLEAN WATERS, and required defendant KLEAN WATERS to

15   conduct sampling and analysis of the treated wastewater that it

16   discharged to the sewer system.       Defendant KLEAN WATERS was also

17   required to allow OCSD personnel to inspect its facility and records,

18   and to take samples of its wastewater.

19        15.   These Introductory Allegations are incorporated by

20   reference into each count of this Indictment.

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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 5 of 17 Page ID #:5



 1                                     COUNT ONE

 2                                 [18 U.S.C. § 371]

 3                                 [ALL DEFENDANTS]

 4   A.   OBJECTS OF THE CONSPIRACY

 5        Beginning on a date unknown to the Grand Jury and continuing to
 6   on or about April 17, 2015, in Orange County, within the Central
 7   District of California, and elsewhere, defendants KLEAN WATERS and
 8   TIM MILLER conspired with others known and unknown to the Grand Jury,
 9   including Co-conspirators #1 and #2, to:
10        1.   Knowingly discharge wastewater in violation of a
11   national pretreatment standard, in violation of Title 33, United
12   States Code, Sections 1317(d) and 1319(c)(2)(A);
13        2.   Knowingly fail to perform self-monitoring, which was a
14   requirement of OCSD’s approved pretreatment program, in violation of
15   Title 33, United States Code, Section 1319(c)(2)(A);
16        3.   Knowingly make false material statements in self-monitoring
17   reports, in violation of Title 33, United States Code, Section
18   1319(c)(4);
19        4.   Knowingly and willfully make false material statements in a
20   matter within the jurisdiction of the EPA, in violation of Title 18,
21   United States Code, Section 1001(a)(2);
22        5.   Knowingly falsify, tamper with, and render inaccurate a
23   monitoring device and sampling method, in violation of
24   Title 33, United States Code, Sections 1319(c)(2)(A) and 1319(c)(4);
25        6.   Knowingly discharge untreated wastewater to OCSD’s POTW
26   without a permit, which was a requirement of OCSD’s approved
27   pretreatment program, in violation of Title 33, United States Code,
28   Sections 1311 and 1319(c)(2)(A); and
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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 6 of 17 Page ID #:6



 1        7.   Knowingly and willfully defraud the United States by using

 2   deceitful and dishonest means to frustrate the functions and efforts

 3   of the EPA to enforce the CWA.

 4   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

 5        ACCOMPLISHED
 6        The objects of the conspiracy were to be accomplished, in
 7   substance, as follows:
 8        1.   Defendants KLEAN WATERS and MILLER would falsely certify in
 9   the permit application to OCSD that defendant KLEAN WATERS would use
10   a hard-piped chemical-dispensing system to treat wastewater, when, in
11   reality, such a system was not used.
12        2.   Defendants KLEAN WATERS and MILLER would falsely represent
13   and certify to OCSD that defendant KLEAN WATERS would conduct daily
14   analysis of pollutant levels in the wastewater accepted for
15   treatment, when, in reality, any such analysis was invalid because it
16   was performed on diluted samples.
17        3.   Defendants KLEAN WATERS and MILLER would accept, and would
18   cause Co-conspirator #1 and other employees of defendant KLEAN WATERS
19   to accept, loads of wastewater at defendant KLEAN WATERS’ facility
20   without testing the loads, so that the type and concentration of
21   pollutants in the wastewater remained unknown.
22        4.   Defendants KLEAN WATERS and MILLER would submit to OCSD
23   self-monitoring reports containing data that he knew was false
24   because it was based on diluted samples.
25        5.   Defendants KLEAN WATERS and MILLER would cause Co-
26   conspirator #1 and other employees of defendant KLEAN WATERS not to
27   treat, or not to sufficiently treat, wastewater that had been
28   delivered to defendant KLEAN WATERS for treatment.
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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 7 of 17 Page ID #:7



 1        6.    Defendant KLEAN WATERS and MILLER would cause Co-

 2   conspirator #1 and other employees of defendant KLEAN WATERS to

 3   knowingly discharge, or cause to be discharged, untreated wastewater

 4   into the sewer system that led to OCSD’s sewage treatment plant.

 5        7.    Defendant MILLER, acting as an agent of defendant KLEAN

 6   WATERS, would instruct Co-conspirator #1 to dilute samples of

 7   wastewater with clean water so that analyses of the samples would

 8   show concentrations of pollutants below permit limits.

 9        8.    In order to hide the concentrations of pollutants in the

10   wastewater being discharged from the facility, defendant MILLER,

11   acting as an agent of defendant KLEAN WATERS, would instruct Co-

12   conspirator #1 and other employees of defendant KLEAN WATERS to

13   tamper with the sampling equipment that OCSD had installed inside

14   defendant KLEAN WATERS’ facility.

15        9.    In order to conceal the failure to properly test and treat

16   wastewater, defendant MILLER, acting as an agent of defendant KLEAN

17   WATERS, would refuse to allow, and would instruct Co-conspirator #1

18   and other employees of defendant KLEAN WATERS to refuse to allow,

19   OCSD staff to inspect logbooks, customer profiles, manifests, and

20   other records, or to collect samples from defendant KLEAN WATERS’

21   holding tanks or from trucks hauling wastewater to the facility.

22        10.   Defendant MILLER, acting as an agent of defendant KLEAN

23   WATERS, would instruct Co-conspirator #1 and other employees of

24   defendant KLEAN WATERS to tamper with the sampling probes that OCSD

25   had placed in the sewer system downstream from the facility, to

26   prevent the probes from taking accurate samples of defendant KLEAN

27   WATERS’ discharged wastewater, and instruct Co-conspirator #2 to look

28   out for OCSD personnel.
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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 8 of 17 Page ID #:8



 1        11.   After defendant KLEAN WATERS’ permit was revoked,

 2   defendants KLEAN WATERS and MILLER would cause Co-conspirator #1 and

 3   other employees of defendant KLEAN WATERS to discharge the remaining

 4   wastewater stored at the facility into the sewer system without

 5   treating it.

 6   C.   OVERT ACTS

 7        On or about the following dates, in furtherance of the
 8   conspiracy and to accomplish the objects of the conspiracy,
 9   defendants KLEAN WATERS and MILLER, and others both known and unknown
10   to the Grand Jury, including co-conspirators #1 and #2, committed
11   various overt acts within the Central District of California and
12   elsewhere, including, but not limited to, the following:
13        Overt Act No. 1:       On September 25, 2012, defendants KLEAN
14   WATERS and MILLER applied to OCSD for a permit to operate defendant
15   KLEAN WATERS, falsely certifying that the facility would use a hard-
16   piped system to deliver caustic soda, cationic polymer, anionic
17   polymer, aluminum sulfate, and sulfuric acid into process tanks to
18   treat wastewater.
19        Overt Act No. 2:       On June 10, 2013, defendants KLEAN WATERS
20   and MILLER submitted to an OCSD inspector a statement falsely
21   certifying that defendant KLEAN WATERS segregated each incoming load
22   of wastewater for individual treatment, and that defendant KLEAN
23   WATERS would be performing daily analysis of the pollutants in the
24   wastewater at the facility.
25        Overt Act No. 3:       On December 12, 2013, defendant KLEAN WATERS
26   discharged approximately 3,200 gallons of wastewater that contained
27   firefighting foam into the sewer system without treating it or
28   determining its pollutant content.

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      Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 9 of 17 Page ID #:9



 1        Overt Act No. 4:       On December 13, 2013, defendant KLEAN WATERS

 2   discharged approximately 1,500 gallons of wastewater from washing

 3   steel parts into the sewer system without treating it or determining

 4   its pollutant content.

 5        Overt Act No. 5:       Between March 6 and 9, 2014, defendant KLEAN

 6   WATERS discharged approximately 630,000 gallons of wastewater from
 7   the rusting cooling system pipelines of electrical generators into
 8   the sewer system without treating it or determining its pollutant
 9   content.
10        Overt Act No. 6:       From March 8 to 9, 2014, defendant KLEAN
11   WATERS discharged untreated black and oily wastewater that contained
12   concentrations of chromium, copper, and titanium above permit limits
13   into the sewer system.
14        Overt Act No. 7:       From March 8 to 9, 2014, defendant KLEAN
15   WATERS discharged untreated black wastewater that smelled like
16   petroleum and contained a concentration of copper above the permitted
17   level into the sewer system.
18        Overt Act No. 8:       On April 16, 2014, defendant KLEAN WATERS
19   discharged approximately 500 gallons of wastewater that contained a
20   material categorized as hazardous by the Occupational Health and
21   Safety Administration into the sewer system without treating it or
22   determining its pollutant content.
23        Overt Act No. 9:       On May 14, 2014, Co-conspirators #1 and #2,
24   at the direction of defendant MILLER and acting as agents of
25   defendant KLEAN WATERS, refused to allow OCSD inspectors to collect
26   samples from trucks transporting wastewater to the facility.
27        Overt Act No. 10:      On May 15, 2014, Co-conspirator #1, at the
28   direction of defendant MILLER and acting as an agent of defendant
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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 10 of 17 Page ID #:10



 1   KLEAN WATERS, refused to allow OCSD inspectors to collect samples

 2   from holding tanks or trucks transporting wastewater at the facility,

 3   or to review any records at the facility.

 4        Overt Act No. 11:      On June 3, 2014, Co-conspirator #1, at the

 5   direction of defendant MILLER and acting as an agent of defendant
 6   KLEAN WATERS, refused to allow OCSD inspectors to collect samples of
 7   untreated wastewater, or to review logbooks, customer profiles, or
 8   manifests at the facility.
 9        Overt Act No. 12:      On June 12, 2014, defendant MILLER, acting
10   as an agent of defendant KLEAN WATERS, told OCSD inspectors that
11   other centralized waste treatment facilities were not required to
12   provide inspectors with analytical information, customer profiles, or
13   samples from incoming trucks.
14        Overt Act No. 13:      On June 19, 2014, Co-conspirator #1, at the
15   direction of defendant MILLER and acting as an agent of defendant
16   KLEAN WATERS, refused to allow OCSD inspectors to review logbooks,
17   customer profiles, transporter information, daily volumes, or waste
18   storage information at the facility.
19        Overt Act No. 14:      On June 20, 2014, Co-conspirator #1, at the
20   direction of defendant MILLER and acting as an agent of defendant
21   KLEAN WATERS, refused to allow OCSD inspectors to review logbooks,
22   customer profiles, transporter information, daily volumes, or waste
23   storage information at the facility.
24        Overt Act No. 15:      On July 3, 2014, Co-conspirator #1, at the
25   direction of defendant MILLER and acting as an agent of defendant
26   KLEAN WATERS, refused to allow OCSD staff to take a sample from a
27   truck transporting wastewater at the facility.
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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 11 of 17 Page ID #:11



 1        Overt Act No. 16:      On July 3, 2014, Co-conspirator #1, acting

 2   as an agent of defendant KLEAN WATERS, told OCSD staff that the

 3   chemicals depicted in defendant KLEAN WATERS’ permit application were

 4   unnecessary because all of the wastewater was treated with a single

 5   polymer, which, in reality, was a coagulant for treating oily waste.

 6        Overt Act No. 17:      On August 19, 2014, defendant KLEAN WATERS

 7   discharged approximately 10,700 gallons of wastewater that it had not
 8   treated or tested for pollutants.
 9        Overt Act No. 18:      On August 20, 2014, defendant KLEAN WATERS
10   had, in its holding tanks, wastewater that contained concentrations
11   of chromium, copper, lead, nickel, zinc, cobalt, titanium, and
12   vanadium above permit limits.
13        Overt Act No. 19:      On August 20, 2014, defendant KLEAN WATERS
14   discharged approximately 30,400 gallons of wastewater that it had not
15   treated or tested for pollutants.
16        Overt Act No. 20:      On August 20, 2014, Co-conspirator #1, at
17   the direction of defendant MILLER and acting as an agent of defendant
18   KLEAN WATERS, tampered with the sampling equipment at the facility.
19        Overt Act No. 21:      On August 21, 2014, Co-conspirator #1, at
20   the direction of defendant MILLER and acting as an agent of defendant
21   KLEAN WATERS, refused to allow an OCSD inspector to review
22   transporter truck logs, customer profiles, laboratory analyses, and
23   chemical safety data sheets at the facility.
24        Overt Act No. 22:      On September 2, 2014, Co-conspirator #1, at
25   the direction of defendant MILLER and acting as an agent of defendant
26   KLEAN WATERS, refused to allow an OCSD inspector to review the
27   logbooks at the facility.
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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 12 of 17 Page ID #:12



 1        Overt Act No. 23:      On September 18, 2014, defendant KLEAN

 2   WATERS discharged wastewater into the sewer system that contained

 3   concentrations of chromium, copper, lead, zinc, antimony, cobalt,

 4   tin, titanium, and vanadium higher than permit limits.

 5        Overt Act No. 24:      On September 22, 2014, defendant KLEAN

 6   WATERS discharged wastewater into the sewer system that contained
 7   concentrations of copper and titanium higher than permit limits.
 8        Overt Act No. 25:      On September 23, 2014, defendant KLEAN
 9   WATERS discharged wastewater into the sewer system that contained a
10   concentration of titanium higher than permit limits.
11        Overt Act No. 26:      On September 25, 2014, to prevent OCSD from
12   determining the concentration of pollutants in defendant KLEAN
13   WATERS’ wastewater and acting as agents of defendant KLEAN WATERS,
14   Co-conspirator #2 stood watch for OCSD personnel while Co-conspirator
15   #1 tampered with sampling equipment that OCSD inspectors had set in
16   the sewer system downstream from the facility.
17        Overt Act No. 27:      On September 26, 2014, in a telephone
18   conversation, defendant MILLER, acting as an agent of defendant KLEAN
19   WATERS, told Co-conspirator #2 that OCSD staff had placed sampling
20   equipment in the sewer system that morning, and that he wanted Co-
21   conspirator #2 to look out for OCSD personnel while another employee
22   tampered with the equipment.
23        Overt Act No. 28:      On September 26, 2014, at the direction of
24   defendant MILLER and acting as an agent of defendant KLEAN WATERS,
25   Co-conspirator #1 tampered with sampling equipment that OCSD
26   inspectors had set in the sewer system downstream from the facility.
27        Overt Act No. 29:      On October 2, 2014, at the direction of
28   defendant MILLER and acting as an agent of defendant KLEAN WATERS,
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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 13 of 17 Page ID #:13



 1   Co-conspirator #1 tampered with sampling equipment that OCSD

 2   inspectors had set in the sewer system downstream from the facility.

 3        Overt Act No. 30:      On October 8, 2014, defendant MILLER, acting

 4   as an agent of defendant KLEAN WATERS, certified the accuracy of a

 5   self-monitoring report for the month of September 2014 that contained

 6   false data on pollutant concentrations because it was based on

 7   diluted samples.

 8        Overt Act No. 31:      On October 10, 2014, at the direction of

 9   defendant MILLER and acting as an agent of defendant KLEAN WATERS,
10   Co-conspirator #1 removed from the sewer stream a sampler that OCSD
11   inspectors had set in the sewer system downstream from the facility.
12        Overt Act No. 32:      On November 18, 2014, defendant MILLER,
13   acting as an agent of defendant KLEAN WATERS, certified the accuracy
14   of a self-monitoring report for the month of October 2014 that
15   contained false data on pollutant concentrations because it was based
16   on diluted samples.
17        Overt Act No. 33:      On December 16, 2014, defendant KLEAN WATERS
18   discharged wastewater into the sewer system that contained a
19   concentration of titanium higher than the permitted level.
20        Overt Act No. 34:      On December 17, 2014, defendant KLEAN WATERS
21   discharged wastewater into the sewer system that contained a
22   concentration of titanium more than six times the permitted level.
23        Overt Act No. 35:      On February 4, 2015, Co-conspirator #1,
24   acting as an agent of defendant KLEAN WATERS, falsely told an OCSD
25   permit engineer that the coagulant used at the facility could adjust
26   the pH of wastewater and also treat metals waste.
27        Overt Act No. 36:      On April 17, 2015, after its permit had been
28   revoked on April 16, 2015, defendant KLEAN WATERS discharged

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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 14 of 17 Page ID #:14



 1   approximately 1,200 gallons of wastewater into the sewer system that

 2   it had not treated or tested for pollutants.

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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 15 of 17 Page ID #:15



 1                                     COUNT TWO

 2                [33 U.S.C. § 1319(c)(2)(A); 18 U.S.C. § 2(b)]

 3                                 [ALL DEFENDANTS]

 4        On or about April 17, 2015, defendants KLEAN WATERS and TIM

 5   MILLER knowingly discharged, and willfully caused to be discharged,

 6   wastewater from defendant KLEAN WATERS’ facility into a drain that

 7   conveyed wastewater to a publicly owned treatment works operated by

 8   OCSD, without a permit, in violation of a requirement imposed in

 9   OCSD’s approved pretreatment program.

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     Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 16 of 17 Page ID #:16



 1                              FORFEITURE ALLEGATION

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in this Indictment.

 9        2.   Any defendant so convicted shall forfeit to the United

10   States of America the following:

11             (a)   all right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds traceable to the offenses; and

14             (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.   Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   value of the property described in the preceding paragraph if, as the

21   result of any act or omission of said defendant, the property

22   described in the preceding paragraph or any portion thereof (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to, or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

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Case 8:21-cr-00060-JLS Document 1 Filed 04/14/21 Page 17 of 17 Page ID #:17
